The Honorable Rebecca McDowell Cook Missouri Secretary of State State Capitol Building Jefferson City, MO  65101
Dear Secretary Cook:
This opinion letter is in response to your request for our review under Section 116.332, RSMo, for sufficiency as to form of an initiative petition relating to a proposed law concerning concealed weapons. A copy of the initiative petition that you submitted to this office on November 16, 1999, is attached for reference.
We conclude that the petition must be rejected as to form because the petition form prohibits the use of P.O. Boxes as the registered voting address for petition signers. This prohibition is not found in the statute. See § 116.040, RSMo. The registered voting address of some Missouri voters is a post office box. The statute does not authorize the circulation of a petition that some registered voters in Missouri could not sign. Additionally, we note that the petition form provides for the notary public seal and commission expiration date to appear before the signature and address of the notary. This is inconsistent with the statutory placement.
Because of our rejection of the form of the petition for the reason stated above, we have not reviewed the petition to determine if additional deficiencies exist.
Very truly yours,
                                  JEREMIAH W. (JAY) NIXON Attorney General
Enclosure